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    1       MAYER BROWN LLP
             Matthew H. Marmolejo (CA Bar No. 242964)
    2        mmarmolejo@mayerbrown.com
            350 S. Grand Avenue
    3       25th Floor
            Los Angeles, CA 90071-1503
    4        Ori Lev (DC Bar No. 452565)
             (pro hac vice)
    5        olev@mayerbrown.com
             Stephen M. Medlock (VA Bar No. 78819)
    6        (pro hac vice)
             smedlock@mayerbrown.com
    7       1999 K Street, N.W.
            Washington, D.C. 20006
    8       Telephone: +1.202.263.3000
            Facsimile: +1.202.263.3300
    9
            SOUTHERN POVERTY LAW CENTER
   10         Melissa Crow (DC Bar No. 453487)
              (pro hac vice)
   11         melissa.crow@splcenter.org
            1101 17th Street, N.W., Suite 705
   12       Washington, D.C. 20036
            Telephone: +1.202.355.4471
   13       Facsimile: +1.404.221.5857
   14       Additional counsel listed on next page
            Attorneys for Plaintiffs
   15
                              UNITED STATES DISTRICT COURT
   16
                            SOUTHERN DISTRICT OF CALIFORNIA
   17
        Al Otro Lado, Inc., et al.,                   Case No.: 17-cv-02366-BAS-KSC
   18

   19                      Plaintiffs,                [DISCOVERY MATTER] JOINT
                                                      MOTION CONCERNING
   20            v.                                   SPOLIATION SANCTIONS
   21   Chad F. Wolf,1 et al.,
   22
                           Defendants.
   23                                                 [DECLARATIONS OF STEPHEN M.
                                                      MEDLOCK AND KATHERINE J.
   24                                                 SHINNERS FILED
                                                      CONCURRENTLY]
   25

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         Acting Secretary Wolf is automatically substituted for former Acting Secretary
   28   McAleenan pursuant to Fed. R. Civ. P. 25(d).
                                                             JOINT MOTION CONCERNING SPOLIATION
                                                                                     SANCTIONS
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    1   CENTER FOR CONSTITUTIONAL RIGHTS
          Baher Azmy (NY Bar No. 2860740) (pro hac vice)
    2     bazmy@ccrjustice.org
    3     Ghita Schwarz (NY Bar No. 3030087) (pro hac vice)
          gschwarz@ccrjustice.org
    4     Angelo Guisado (NY Bar No. 5182688) (pro hac vice)
          aguisado@ccrjustice.org
    5   666 Broadway, 7th Floor
        New York, NY 10012
    6   Telephone: +1.212.614.6464
    7   Facsimile: +1.212.614.6499
    8   SOUTHERN POVERTY LAW CENTER
          Sarah Rich (GA Bar No. 281985) (pro hac vice)
    9     sarah.rich@splcenter.org
          Rebecca Cassler (MN Bar No. 0398309) (pro hac vice)
   10     rebecca.cassler@splcenter.org
        150 E. Ponce de Leon Ave., Suite 340
   11   Decatur, GA 30030
   12   Telephone: +1.404.521.6700
        Facsimile: +1.404.221.5857
   13
      AMERICAN IMMIGRATION COUNCIL
   14   Karolina Walters (DC Bar No. 1049113) (pro hac vice)
        kwalters@immcouncil.org
   15 1331 G St. NW, Suite 200

   16 Washington, D.C. 20005
      Telephone: +1.202.507.7523
   17 Facsimile: +1.202.742.5619

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                                                      JOINT MOTION CONCERNING SPOLIATION
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    1          JOINT MOTION CONCERNING SPOLIATION SANCTIONS
    2         Pursuant to the Court’s July 10, 2020 Order (Dkt. 485) and Section VIII of the
    3   Court’s Chambers’ Rules for Civil Pretrial Procedures, the parties respectfully
    4   submit their joint motion concerning spoliation sanctions. Plaintiffs seek an order
    5   imposing sanctions for Defendants’ spoliation of certain documents that they claim
    6   should have been retained by Defendants during the pendency of this litigation. The
    7   parties, through counsel, met and conferred via telephone regarding spoliation
    8   sanctions, but were unable to resolve this dispute.
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                                                          JOINT MOTION CONCERNING SPOLIATION
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    1                               PLAINTIFFS’ ARGUMENT
    2   I.    Introduction
    3         Plaintiffs do not bring this motion lightly. But the spoliation in this case is so
    4   clear that sanctions are warranted. The factual basis for spoliation sanctions is not
    5   in serious dispute.
    6         As explained in more detail in Plaintiffs’ summary judgment motion (see Dkt.
    7   533), this is a case about the implementation of a turnback policy at Class A ports of
    8   entry on the U.S.-Mexico border.2 Defendants refer to aspects of the turnback policy
    9   as “metering” or “queue management.” This Court has previously explained that a
   10   key issue in this case is whether Defendants have legitimate reasons for
   11   implementing the turnback policy or if the turnback policy is based on a pretext. See
   12   Dkt. 280 at 60-61; Dkt. 446 at 6. Therefore, a key question is what information the
   13   senior-most officials at U.S. Customers and Border Protection’s (CBP’s) Office of
   14   Field Operations (OFO) discussed when implementing the policy. For example: did
   15   they consider the turnback policy to be unjustified, illegal, or based on a pretext?
   16         It is undisputed that two senior officials at OFO, Todd Owen and Randy
   17   Howe,3 received litigation hold notices informing them that they should preserve
   18

   19

   20                         Ex. 1 (CBPALOTRO000390) at 395. Mr. Howe and Mr. Owen
   21   admit that they attended regular meetings of senior officials at OFO where the
   22

   23   2
        Below, Defendants profess ignorance about what Plaintiffs mean by the terms
      “turnback policy” and “pretext.” That is of no moment. The terms are defined and
   24 explained extensively in Plaintiffs’ Second Amended Complaint (see Dkt. 189 at ¶¶
      2-3), Motion for Class Certification (see Dkt. 389-1 at 10-21), and Motion of
   25 Summary Judgment (see Dkt. 533-1 at 4-16).

   26
        3
        During almost all of the time period relevant to this litigation, Mr. Owen was the
   27 Executive Assistant Commissioner of OFO, the senior-most official at OFO. See
      Defs’ Ex. A at ¶ 1. Mr. Howe was the Executive Director of Operations at OFO
   28 from October 2017 to January 18, 2020. Defs’ Ex. B at ¶ 1.
                                                           JOINT MOTION CONCERNING SPOLIATION
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    1   implementation of queue management was discussed. Ex. 2 at 19:20-20:14; Defs’
    2   Ex. A at ¶ 8. During these meetings, Mr. Owen and Mr. Howe admit that they took
    3   hand-written notes about the topics discussed during the meeting “to remind
    4   [themselves] to take further action,” Defs’ Ex. A at ¶ 10, and to “jog [their]
    5   memor[ies] of particular follow up actions,” id.; see also Defs’ Ex. B at ¶ 7 (Mr.
    6   Howe wrote down “trigger words” that he would “use to assist [himself] in recalling”
    7   topics that he wanted to raise during the meeting). Both Mr. Owen and Mr. Hoffman
    8   admit that they discarded these hand-written notes, Defs’ Ex. A at ¶ 11; Defs’ Ex. B
    9   at ¶ 8, despite
   10                       . Therefore, as this Court put it, there “is evidence of spoliation”;
   11   the remaining question is “whether the spoliation was willful or merely negligent.”
   12   Dkt. 506 at 5. Because the spoliation in this case was either willful or grossly
   13   negligent, the proper sanction for Defendants’ spoliation is for the Court to adopt a
   14   rebuttable presumption that the destroyed evidence would have been detrimental to
   15   Defendants’ case.
   16         Defendants have no meaningful justification for Mr. Owen’s and Mr. Howes’
   17   destruction of documents that they were specifically instructed to preserve. They
   18   argue that M. Howe and Mr. Owen merely took “non-substantive” notes. But the
   19   record shows otherwise. Mr. Howe and Mr. Owen took these notes specifically so
   20   that they could remember what was discussed at high-level meetings and so that they
   21   could take further action. Their notes were substantive. See, e.g., Substantive,
   22   Merriam-Webster Dictionary (2020) (“involving matters of . . . practical
   23   importance”); Substantive, Cambridge Dictionary (2020) (“having real importance
   24   of value”). These notes would have shown what the senior-most officials at OFO
   25   discussed regarding the implementation of the turnback policy. They also would
   26   have shown what follow-up actions OFO leadership thought were warranted
   27   concerning the turnback policy. Because Mr. Howe and Mr. Owen routinely
   28   destroyed their notes, Plaintiffs lost the opportunity to meaningfully question Mr.
                                                           JOINT MOTION CONCERNING SPOLIATION
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    1   Howe and Mr. Owen at their depositions about those discussions and follow-up
    2   actions that occurred during the high-level meetings.
    3          Moreover, Mr. Owen and Mr. Howe were not allowed to substitute their
    4   judgment for that reflected in the litigation hold that they received. The litigation
    5   hold⸺which Defendants do not even cite below⸺instructed Mr. Owen and Mr.
    6   Howe                                       Ex. 1 at 395. The litigation hold warned
    7   Mr. Howe and Mr. Owen that
    8

    9                 Id. The litigation hold specifically advised Mr. Owen and Mr. Howe
   10   to
   11                                        Id. at 401. The litigation hold further instructed
   12   Mr. Owen and Mr. Howe
   13                                     Id. Instead of following the clear guidance in the
   14   litigation hold, Mr. Owen and Mr. Howe determined that their notes were not
   15   “substantive” and discarded them.
   16          It gets worse. Defendants’ counsel also bungled their efforts to send litigation
   17   hold notices to key custodians. The most glaring example is Mr. Howe. Mr. Howe
   18   became the Executive Director for Operations at OFO on October 2017—months
   19   after this litigation was filed. See Dkt. 1. As the Executive Director, Mr. Howe had
   20   direct responsibility for the operations of ports of entry on the U.S.-Mexico border,
   21   including efforts to turn asylum seekers back to Mexico at those ports of entry.
   22          Because Defendants waited months to send a litigation hold to Mr. Howe, and
   23   failed to take reasonable steps to preserve evidence, such as the notes taken by Mr.
   24   Howe and Mr. Owen, spoliation sanctions are appropriate. Specifically, the Court
   25   should draw rebuttable presumptions that (a) at the daily OFO leadership meeting,
   26   Mr. Owen and Mr. Howe instructed CBP officers to turn back asylum seekers who
   27   were arriving at ports of entry on the U.S.-Mexico border and (b) the notes taken by
   28   Mr. Owen and Mr. Howe would show that the turnback policy is based on a pretext.
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    1   II.   Factual Background
    2         A.     The Turnback Policy
    3         Plaintiffs have already provided the Court with a detailed accounting of the
    4   implementation of the turnback policy in their recently-filed motion for summary
    5   judgment. See Dkt. 533 at 4-18. In brief, the relevant facts are these. Beginning in
    6   May 2016 at the San Ysidro Port of Entry, CBP changed entirely the way that it
    7   inspects and processes asylum seekers arriving at ports of entry. Rather than
    8   carrying out their congressionally-mandated duty to inspect and process all asylum
    9   seekers arriving at ports of entry, CBP officers began turning back asylum seekers
   10   at ports of entry. Initially, due to decisions made by OFO leadership, these practices
   11   were not standardized. For instance, in some instances, CBP officers forced asylum
   12   seekers to withdraw their applications for admission; in others, CBP officers used
   13   physical force to prevent asylum seekers from stepping onto U.S. soil; and, in other
   14   cases, CBP officers lied to asylum seekers by telling them that the ports of entry
   15   were “at capacity.”
   16         In April and June 2018, Defendants memorialized portions of the turnback
   17   policy, directing ports of entry to turn back asylum seekers when they were “at
   18   capacity.” At the same time, Defendants re-defined the term “capacity” to be
   19   essentially meaningless. Around this time,
                                                                                           4
   20                                                                                          In
   21   fact, the policy ultimately gave ports of entry license to slash the number of asylum
   22
        4
         Buried in a footnote below, Defendants label this argument “conclusory.” They
   23   contend that
                          Infra at 21 n.12. Defendants argument ignores the record.
   24

   25           Dkt. 533-1 at 13-14.
   26
        Id. at 14.                                       Id. This was not some sort of
   27   hypothetical exercise, as Defendants imply. Defendants explicitly
   28                                      The evidence is not “conclusory,” it is damning.
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    1   seekers inspected and processed to far below 100% of their capacity.
    2          B.    Defendants’ Failed Document Preservation Efforts
    3          Plaintiffs filed their initial complaint in this case on July 12, 2017. See Dkt.
    4   1. Defendants were served with a copy of the complaint on July 14, 2017. See Dkt.
    5   41. CBP sent a litigation hold notice to Todd Owen, in July 2017. See Ex. 3 at 15.
    6   However, Defendants’ document preservation efforts were woefully incomplete and
    7   under-inclusive. Some custodians received litigation hold notice months or years
    8   after this litigation was filed. For example, Randy Howe, the Executive Director of
    9   OFO who was in charge of all operations at ports of entry, did not receive a litigation
   10   hold notice until December 20, 2018—over a year after he assumed that position.
   11   Id. at 16.
   12          C.    Defendants’ Document Destruction
   13          The results of Defendants’ shoddy document preservation efforts are all too
   14   predictable. Multiple high-level OFO employees destroyed their notes of what
   15   occurred at daily operational meetings. Randy Howe destroyed notes that he took
   16   to jog his memory concerning the topics discussed at daily 8:15am operational
   17   meetings attended by the senior-most career officials at OFO. See Ex. 2 at 19:20-
   18   20:14; Ex. 4. Mr. Howe routinely took these notes from October 2017 to December
   19   2019 and, despite receiving a litigation hold notice in December 2018, routinely
   20   destroyed those notes by placing them in a shred bin. See Ex. 2 at 20:15-32:22; Ex.
   21   3 at 17. Defendant Todd Owen also routinely destroyed similar notes that he took
   22   at the 8:15 a.m. meeting that he used to jog his memory concerning what was
   23   discussed at those meetings, despite having received a litigation hold notice as early
   24   as July 20, 2017. Ex. 3 at 17.
   25   III.   Argument
   26          A.    Spoliation Sanctions Are Warranted
   27          “Spoliation is ‘the destruction or significant alteration of evidence, or the
   28   failure to preserve property for another’s use as evidence[,] in pending or reasonably
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    1   foreseeable litigation.” Reinsdorf v. Skechers U.S.A. Inc., 296 F.R.D. 604, 625-26
    2   (C.D. Cal. 2013) (quoting Zubulake v. UBS Warburg, LLC, 220 F.R.D. 212, 216
    3   (S.D.N.Y. 2003)). “[T]he party alleging spoliation has the burden to prove by a
    4   preponderance of the evidence that the accused party actually destroyed, altered, or
    5   failed to preserve relevant evidence.” U.S. E.E.O.C. v. Wedco, Inc., 2014 WL
    6   4635678, at *2 (D. Nev. 2014) (citing LaJocies v. City of N. Las Vegas, 2011 WL
    7   1630331, at *1 (D. Nev. 2011)).
    8         “A federal court is empowered to sanction a spoliating party under its inherent
    9   authority under Federal Rule of Civil Procedure . . . 37. The Court may exercise its
   10   inherent authority to impose sanctions ‘based on a party’s failure to preserve relevant
   11   evidence . . . if [the party] had some notice that the evidence was potentially relevant
   12   to pending or reasonably foreseeable litigation.” Soule v. P.F. Chang’s China Bistro,
   13   Inc., 2020 U.S. Dist. LEXIS 23802, at *10 (D. Nev. 2020). “[I]f relevant evidence
   14   has been shown to exist, and if the possessor of that evidence was on notice that the
   15   evidence was potentially relevant to litigation which was reasonably foreseeable,
   16   and if that party failed to take reasonable steps to preserve it, sanctions may be
   17   imposed upon that party.” Id.
   18         “A party seeking sanctions for spoliation of evidence must prove the
   19   following elements: (1) the party having control over the evidence had an obligation
   20   to preserve it when it was destroyed or altered, (2) the destruction or loss was
   21   accompanied by a culpable state of mind, and (3) the evidence was destroyed or
   22   altered was ‘relevant’ to the claims or defenses of the party that sought the discovery
   23   of the spoliated evidence[.]” Brannan v. Bank of Am., 2017 WL 4031442, at *2 (D.
   24   Nev. 2017), adopted by 2018 WL 1002613 (D. Nev. 2018).
   25         Here, each of the Brannan factors are satisfied, and a rebuttable presumption
   26   that the spoliated evidence was favorable to Plaintiffs is warranted. First, there is no
   27   question that Defendants had “control over the evidence [and] had an obligation to
   28   preserve it when it was destroyed.” Brannan, 2017 WL 4031442, at *2. Mr. Owen
                                                           JOINT MOTION CONCERNING SPOLIATION
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    1   and Mr. Howe were all CBP employees and received litigation hold notices (no
    2   matter how belated they may have been) at the time that they destroyed documents
    3   relevant to this ca. Supra at 5.
    4         Second, the destruction and loss of the spoliated materials was accompanied
    5   by a culpable state of mind. Brannan, 2017 WL 4031442, at *2. A “culpable state
    6   of mind” requires a showing “of at least negligence.” Nutrition Distrib. LLC v. PEP
    7   Res., LLC, 2018 U.S. Dist. LEXIS 205250, at *11 (S.D. Cal. 2018). In this case,
    8   Defendants’ failed to send a litigation hold notice to Mr. Howe until December 20,
    9   2018, at which point Mr. Howe had been destroying his notes of high-level meetings
   10   at OFO for months. See supra at 4-6. The failure to timely issue a litigation hold
   11   notice is, at the very least, gross negligence. Surowiec v. Capital Title Agency, Inc.,
   12   790 F. Supp. 2d 997, 1007 (D. Ariz. 2011) (failure to issue timely litigation hold was
   13   gross negligence).5
   14         After Mr. Howe received a litigation hold in December 2018, he willfully
   15   destroyed his notes based on his belief that the notes “weren’t substantive.” Ex. 2
   16   at 26:15-20. But Mr. Howe’s rationale ignores the import of his notes—they are the
   17   best evidence of what was discussed at meetings of the senior-most officials at OFO
   18   where metering was a topic of discussion. Id. at 32:8-12; Ex. 5 at 28:19-30:14. Mr.
   19   Howe’s conduct was willful and reckless. Once he received his severely belated
   20   litigation hold notice, he knew, or should have known, from the litigation hold
   21   notices that he received that he needed to retain all documents relevant to the claims
   22   and defenses in this case. But he chose to supplant his personal judgment about what
   23   was “substantive” for the law. See, e.g., Victorino v. FCA US LLC, 2017 U.S. Dist.
   24   LEXIS 168390, at *31 (S.D. Cal. 2017) (a “party’s destruction of evidence qualifies
   25

   26   5
       Below, Defendants accuse Plaintiffs of attempting to create a “per se” standard for
      gross-negligence. Far from it. Plaintiffs’ argument is simple. Defendants failed to
   27 send Mr. Howe a litigation hold for months. Then, Defendants allowed two of their
      key witnesses to destroy contemporaneous notes of high-level meetings where the
   28 turnback policy was discussed. That is grossly negligent under any standard.
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    1   as willful spoliation if the party has ‘some notice that the documents were potentially
    2   relevant to the litigation before they were destroyed’”).
    3         During his time as the head of OFO, Mr. Owen was a defendant in this case.
    4   He received a litigation hold on July 20, 2017. Ex. 3 at 17. He acknowledged that
    5   he attended operational meetings where metering was discussed. Ex. 5 at 30:12-14.
    6   Yet, he admits that he destroyed notes about those meetings. Defs’ Ex. A at ¶ 11. It
    7   is difficult to think of more obvious evidence of willful spoliation. Leon v. IDX Sys.
    8   Corp., 464 F.3d 951, 959 (9th Cir. 2006) (“A party’s destruction of evidence
    9   qualifies as willful spoliation if the party has ‘some notice that the documents were
   10   potentially relevant to the litigation before they were destroyed.’”).
   11         Third, the evidence that was destroyed was clearly relevant. “[R]elevance is
   12   a two-part test that requires a showing of both relevance and prejudice.” Esquivel v.
   13   Prudential Life Ins. Co., 2018 U.S. Dist. LEXIS 224236, at *7 (C.D. Cal. 2018).
   14   “[L]ost or destroyed evidence is ‘relevant’ if ‘a reasonable trier of fact could
   15   conclude that the lost evidence would have supported the claims or defenses of the
   16   party that sought it.’” Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497,
   17   531 (D. Md. 2010). “A party suffers prejudice if the spoliation substantially denies
   18   that party the ability to support . . . its claim.” Mizzoni v. Allison, 2018 U.S. Dist.
   19   LEXIS 80969, at *15 (D. Nev. 2018). In particular, prejudice exists where a party
   20   “is forced to rely on incomplete and spotty evidence” as a result of an opposing
   21   party’s failure to preserve and produce evidence. Anheuser-Busch, Inc. v. Natural
   22   Beverage Distribs., 69 F.3d 337, 353 (9th Cir. 1995).
   23         In this case, there is no doubt that Mr. Owen’s and Mr. Howe’s notes were
   24   relevant and their destruction was prejudicial. Mr. Owen and Mr. Howe admittedly
   25   took these short notes in order to jog their memories about what was discussed at the
   26   daily 8:15 a.m. meeting of the senior-most officials at OFO. See, e.g., Ex. 5 at 28:19-
   27   30:14; Ex. 2 at 21:1-21. High-level OFO officials discussed metering during these
   28   meetings. See, e.g., Ex. 5 at 30:12-14. When Mr. Owen and Mr. Howe destroyed
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    1   their notes, they deprived Plaintiffs of the ability to refresh their recollections on
    2   what was discussed during the meetings. Instead, Plaintiffs were forced to rely on
    3   their spotty recollections of what was said at the meetings. See, e.g., Ex. 2 at 22:22-
    4   23:13 (Mr. Howe was unable to recall whether his written notes ever referenced
    5   inspecting and processing asylum seekers at POEs on the U.S.-Mexico border).
    6         Mr. Owen and Mr. Howe assert that their notes were “non-substantive,” and
    7   therefore irrelevant. Ex. 3 at 17. But, “the relevance of . . . [destroyed] documents
    8   cannot be clearly ascertained because the documents no longer exist,” and
    9   Defendants “can hardly assert any presumption of irrelevance as to the destroyed
   10   documents.” Leon, 464 F.3d at 959. At any rate, Defendants are flat wrong when
   11   they assert that contemporaneous notes taken by key custodians at high-level
   12   meetings where metering was admittedly discussed are somehow irrelevant.
   13   Regardless of how cursory these notes were, their purpose was to jog Mr. Howe’s
   14   and Mr. Owen’s memories about topics that were discussed during those high-level
   15   meetings. Because Mr. Owen and Mr. Howe destroyed their notes, Plaintiffs lost
   16   the ability to refresh their memories and engage in meaningful questioning regarding
   17   meetings where metering was discussed.
   18         B.     A Rebuttable Presumption Is Warranted
   19         When considering the proper sanction for spoliation, “the court should choose
   20   the least onerous sanction corresponding to the willfulness of the destructive act and
   21   the prejudice suffered by the victim.” LaJocoies v. City of N. Las Vegas, 2011 WL
   22   1630331, at *4 (D. Nev. 2011) (internal citation omitted).          The most severe
   23   sanction—terminating the case in favor of the non-spoliating party—“should not be
   24   imposed unless there is clear and convincing evidence of both bad-faith spoliation
   25   and prejudice to the opposing party.” Micron Tech., Inc. v. Rambus, Inc., 645 F.3d
   26   1311, 1328-29 (9th Cir. 2011) (internal citation omitted).
   27         “The middle available sanction is to order a rebuttable presumption against
   28   the offering party that the evidence, if it has not been despoiled, would have been
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    1   detrimental to the despoiler.” Soule, 2020 U.S. Dist. LEXIS 23802, at *11-12. “To
    2   warrant a rebuttable presumption, [the offending party] must have consciously
    3   disregarded its obligation to preserve” the lost evidence. McCabe v. Wal-Mart
    4   Stores, Inc., 2016 WL 706191, at *3 (D. Nev. 2016) (citation omitted). “By failing
    5   to do as little as issue a litigation hold notice to . . . employees for [several] months
    6   after its preservation duty arose, and by further delaying issuance of litigation hold
    7   notices to several key custodians,” a party “act[s] with not just simple negligence
    8   but rather conscious disregard of its duty to preserve.” Apple Inc. v. Samsung Elecs.
    9   Co., 888 F. Supp. 2d 976, 998 (N.D. Cal. 2012).
   10         “[The] least severe sanction is to enter an adverse inference jury instruction
   11   that an offending party destroyed evidence.” Soule, 2020 U.S. Dist. LEXIS 23802,
   12   at *12. In other words, “[a]n adverse inference is an instruction to the trier of fact
   13   that evidence made unavailable by a party was unfavorable to that party.” Lewis v.
   14   Ryan, 261 F.R.D. 513, 521 (S.D. Cal. 2009). In the context of a bench trial, an
   15   adverse inference is the equivalent of a finding of fact. Optowave Co. v. Nikitin,
   16   2007 WL 129009, at *8 (M.D. Fla. 2007).
   17         In this case, the proper sanction is for the court to draw the rebuttable
   18   presumption that the evidence destroyed by Mr. Owen and Mr. Howe would have
   19   been helpful to Plaintiffs’ case. Soule, 2020 U.S. Dist. LEXIS 23802, at *11-12.
   20   This presumption is warranted because Defendants took months to distribute
   21   litigation holds to Mr. Howe and then allowed custodians to destroy key information
   22   in a willful or grossly negligent manner. See supra at 5; Apple Inc., 888 F. Supp. 2d
   23   at 998. Therefore, the Court should adopt a rebuttable presumption that (a) at the
   24   daily OFO leadership meeting, Mr. Owen and Mr. Howe instructed CBP officers to
   25   turn back asylum seekers who were arriving at ports of entry on the U.S.-Mexico
   26   border and (b) the notes taken by Mr. Owen and Mr. Howe would show that the
   27   turnback policy is based on a pretext.
   28
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    1         C.     Defendants’ Arguments to the Contrary Are Baseless
    2         Defendants arguments below offer no basis for this Court to avoid entering
    3   spoliation sanctions.
    4         First, Defendants attempt to turn the spoliation inquiry on its head. They
    5   argue that Plaintiffs have based this motion on nothing more than their own “fertile
    6   imagination” about what may have been discussed at those meetings. That is
    7   incorrect. Mr. Owen and Mr. Howe admitted that they attended a regular meeting
    8   at which queue management, an aspect of the turnback policy, was discussed. Supra
    9   at 3-6. The evidence also shows that the turnback policy was based on a pretext.
   10   See Dkt. 533 at 13-14. Defendants’ senior leadership knew that the turnback policy
   11   was a pretext because they
   12                                                               . Id. It requires no leap
   13   of logic to conclude that the same officials discussed their knowledge that the
   14   turnback policy was based on a pretext during meetings whether they (a) admitted
   15   that they discussed the policy, and (b) destroyed their notes of the meeting.
   16         Second, Defendants boldly claim that the court should conclude that the notes
   17   taken by Mr. Owen and Mr. Howe were not relevant. That is entirely wrong. Both
   18   Mr. Owen and Mr. Howe admit that they took notes regarding queue management,
   19   an aspect of the turnback policy. Supra at 1-2. They further admit that they would
   20   have used these notes to inform follow-up actions that they took and to jog their
   21   memories about what was discussed during those meetings. Supra at 1-2. It is
   22   precisely the discussions at those meetings and the follow-up actions with respect to
   23   the turnback policy that Plaintiffs were prevented from inquiring into due to
   24   Defendants’ spoliation.
   25         Third, Defendants argue that Mr. Owen and Mr. Howe did not act in bad faith
   26   because they did not intentionally destroy their notes, but believed them to be “non-
   27   substantive.” That is not correct. The standard for preserving documents is whether
   28   the information “would have supported the claims or defenses of the party that
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    1   sought it,’” Victor Stanley, 269 F.R.D. at 531, not whether a document custodian
    2   thought that the documents were “substantive.” And there is no question that Mr.
    3   Owen’s and Mr. Howe’s notes would have supported Plaintiffs’ claims. By design,
    4   they would have jogged the memories of Mr. Owen and Mr. Howe about discussions
    5   that OFO’s senior officers had concerning the turnback policy and its
    6   implementation.
    7         Fourth, Defendants argue that there was no prejudice to Plaintiffs because it
    8   is not likely that questioning Mr. Owen and Mr. Howe regarding their notes would
    9   have generated favorable testimony. That is rich. Fundamentally, Defendants are
   10   arguing that they know what these destroyed notes said and how witnesses would
   11   have answered questions about them. As this Court has already pointed out, that is
   12   preposterous. See Ex. 6 at 34:11-16 (“What I’m concerned about is that there’s a
   13   statement from the defense that these notes aren’t relevant, they’re just little notes,
   14   and they’re not substantive, but you haven’t actually seen these notes, so how can
   15   you determine whether they’re relevant or not or partially relevant?           I don’t
   16   understand that.”).
   17         Furthermore, Defendants argument is factually incorrect. The evidence shows
   18   that Defendants
   19            , Dkt. 533 at 13-14,
   20                                                                          , id. at 16, and
   21   privately admitted that the turnback policy broke the law, id. at 12. In addition, a
   22   CBP officer turned whistleblower and contemporaneous documents show that the
   23   capacity rationale given for turnbacks is a lie. Id. at 1-2. Given that evidence, and
   24   the fact that Mr. Owen and Mr. Howe disobeyed a litigation hold and destroyed their
   25   notes of high-level meetings where the policy was discussed, it is reasonable to
   26   believe that Plaintiffs would have uncovered further evidence that Mr. Owen and
   27   Mr. Howe discussed the fact that the turnback policy was based on a pretext.
   28         Finally, Defendants point to the fact that one of their custodians, Todd
                                                          JOINT MOTION CONCERNING SPOLIATION
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    1   Hoffman, did preserve his notes and those notes were produced to Plaintiffs. They
    2   also argue that Plaintiffs could have asked Mr. Hoffman about his notes. This
    3   argument misses the mark. The mere fact that other custodians understood that they
    4   needed to preserve their hand-written notes only proves that Mr. Howe and Mr.
    5   Owen should have done the same.6
    6   IV.   Conclusion
    7         Plaintiffs’ motion should be granted in full. The Court should adopt a
    8   rebuttable presumption that (a) at the daily OFO leadership meeting, Mr. Owen and
    9   Mr. Howe instructed CBP officers to turn back asylum seekers that were arriving at
   10   ports of entry on the U.S.-Mexico border and (b) the notes taken by Mr. Owen and
   11   Mr. Howe would show that the turnback policy is based on a pretext.
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       Below Defendants also argue that Plaintiffs could have questioned Mr. Howe about
      Mr. Hoffman’s notes in an effort to refresh Mr. Howe’s recollection. See infra at
   26 27. It is difficult to see how Plaintiffs could have done so, short of time travel. Mr.
      Howe was deposed on January 9, 2020. Defendants did not produce Mr. Hoffman’s
   27 notes until June 9, 2020. At that point, it was not possible to notice the Rule 30(b)(1)
      deposition of Mr. Howe before the June 19, 2020 close of fact discovery. See Dkt.
   28 454 at § II(C) (generally requiring 14 days’ notice for remote depositions).
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    1                             DEFENDANTS’ ARGUMENT
    2         Plaintiffs move for spoliation sanctions in response to the loss of handwritten,
    3   shorthand notes of U.S. Customs and Border Protection (CBP) Officials Todd Owen7
    4   and Randy Howe from a daily operational meeting at which participants typically
    5   review and discuss the prior day’s significant events and other events and topics of
    6   interest. They ask the Court to draw two vague evidentiary presumptions that bear
    7   no factual or logical connection to these notes. The Court should deny this request,
    8   as the loss of these notes does not warrant relief, let alone the imposition of overly-
    9   broad presumptions that lack evidentiary basis.

   10         Plaintiffs ask the Court to impose a rebuttable presumption that Mr. Howe and

   11
        Mr. Owen issued an undefined “turn back” instruction at some unspecified time to
        unspecified CBP Officers at one of these meetings. Yet there is no indication that
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        the notes from the daily operational meetings would contain, or lead to, such
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        evidence. To the contrary, the meetings were to discuss significant events over the
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        last 24 hours, as well as other “events, topics, or issues” warranting the Executive
   15
        Assistant Commissioner’s (EAC’s) awareness, rather than substantive policy. Ex. A
   16
        ¶ 3. The meetings were attended by OFO leadership, and not by CBP Officers in the
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        field. And Plaintiffs point to no direct evidence in the entire discovery record of
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        numerous depositions and 1.4 million pages of documents that support the existence
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        of a “turnback policy” that is different from, or broader than, the acknowledged
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        practices of metering and queue management.
   21
              Plaintiffs also ask the Court to impose a rebuttable presumption that the notes
   22   would have shown that this “turnback policy” was based on a pretext. Even if it were
   23   clear what Plaintiffs mean by “pretext” in this context – which it is not – this request
   24

   25
        7
       Plaintiffs did not meet and confer with Defendants about the loss of Mr. Owen’s
   26 notes. Shinners Decl. ¶ 6. Their request, therefore, is not properly before the Court.
      See Brady v. Grenedene USA, Inc., 2014 WL 11975003, at *1 (S.D. Cal. Dec. 30,
   27 2014) (declining to address substance of dispute and denying motion because
      parties had not met and conferred on “all issues” before presenting disputes to
   28 court).
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    1   is a stretch. Given the purpose of the meetings—which was to discuss operations
    2   and topics of interest, rather than have substantive discussions about policy—and
    3   the purpose of Mr. Howe and Mr. Owen’s notes—which was to jot down one or two
    4   trigger words for topics of discussion and follow-ups—there is no evidence that the
    5   lost, shorthand notes could possibly have led to the evidence Plaintiffs now seek to
    6   enter as a rebuttable presumption.
    7            A court may sanction a party for despoiling non-ESI evidence under its
    8   inherent power. Leon v. IDX Sys. Corp., 464 F.3d 951, 958 (9th Cir. 2006).8 If a
    9   court determines that a party despoiled evidence, it must tailor a remedy

   10   corresponding to the prejudice suffered by the other party, the import of the lost

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        information, and the willfulness of the conduct. Plaintiffs’ proposed remedies are
        not warranted. The Court should thus deny Plaintiffs’ requests for rebuttable
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        presumptions.
   13
            I.      FACTUAL BACKGROUND
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                    A. Defendant CBP’s Preservation Efforts
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                 Defendant CBP has taken numerous, proactive steps to meet its preservation
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        obligations in this border-wide class action implicating a broad swath of its
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        operations. CBP issued litigation hold notices to relevant officials almost
   18
        immediately after this lawsuit was filed and has updated those litigation hold notices
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        throughout the course of the litigation. Ex. 3 at 15-24 (explaining how and when
   20
        Defendants issued litigation holds). It proactively asked the Court for relief from
   21
        extremely costly, disproportionate preservation of surveillance video. See ECF No.
   22   148. Its emails are stored on servers and cannot be manually deleted by individual
   23   users. Ex. 3 at 17. That the vast majority of arguably relevant evidence was preserved
   24

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        8
       If the evidence at issue is ESI, Federal Rule of Civil Procedure 37(e) applies.
   26 Soulé v. P.F. Chang’s China Bistro, Inc., 2020 WL 959245, at *5 (D. Nev. Feb.
      26, 2020) (citing Fed. R. Civ. P 37(e)); Fed. R. Civ. P. 37(e) advisory committee’s
   27 note to 2015 amendment (Rule 37(e) “forecloses reliance on inherent authority or
      state law to determine when certain measures should be used” when applying
   28 spoliation sanctions).
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    1   is evidenced in part by the fact that Defendants have produced over 1.4 million pages
    2   of documents, including emails, data, other ESI, and copies of hard copy,
    3   handwritten notes. Shinners Decl. ¶ 8. Instances in which documents were not
    4   preserved, and which this Motion addresses, were disclosed to Plaintiffs.
    5             B. Notes from the 8:15 am Daily Meetings
    6         Plaintiffs’ Motion is based on the loss of certain non-substantive, shorthand
    7   notes taken by OFO Officials at daily operational meetings. Plaintiffs focus on lost
    8   notes from Todd Owen and Randy Howe, but fail to mention that another custodian
    9   in this case, Todd Hoffman, also attended these same meetings and preserved his

   10   handwritten notes.

   11
                     1. Todd Owen’s Notes
              As Todd Owen, former Executive Assistant Commissioner of OFO, testified
   12
        in his deposition9 and attests in his declaration, he held daily operational meetings at
   13
        8:15 am with OFO leadership that were attended by the Deputy Executive Assistant
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        Commissioner, his and the Deputy Executive Assistant Commissioner’s chiefs of
   15
        staff, and the six Executive Directors at OFO headquarters. Ex. A, ¶ 2. The meetings
   16
        were “operational discussion[s],” which provided (1) operational recaps of OFO’s
   17
        activities over the previous 24 hours and (2) “a high-level overview of issues that
   18
        either have been identified in electronic reports” or that Mr. Owen or one of his
   19
        Executive Directors identified as “being of particular interest.” Ex. 5, 30:3-4; Ex. D,
   20
        40:13-14; Ex. A, ¶ 3. The meeting participants also discussed upcoming events and
   21
        other general topics that needed to be brought to Mr. Owen’s attention. Ex. A, ¶ 3.
   22   These meetings focused on issues relating to all aspects of OFO’s missions at all 328
   23   POEs around the country. Id. ¶¶ 4-6. While participants discussed operational issues
   24   and general “topics or issues of interest to CBP or DHS as a whole,” id. ¶ 6, “the
   25

   26   9
        During his deposition, Plaintiffs questioned Mr. Owen generally about the
      discussions at these meetings but did not ask questions about the specific
   27 discussions that took place. Ex. 5, 28:19-31:22. The entirety of Mr. Owen’s
      transcript was filed with Plaintiffs’ motion for summary judgment. ECF No. 535-
   28 12.
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    1   purpose of these meetings [was] not to make substantive decisions or to have
    2   substantive discussions about the implementation of particular policies.” Id. ¶ 7.
    3   Such discussions and decision-making occurred in separate meetings. Id.
    4         The nature of these meetings demonstrates that Mr. Owen did not take
    5   substantive notes during the meetings, let alone notes relevant to Plaintiffs’ claims,
    6   or that could support the presumption Plaintiffs seek. Id. ¶ 10. Mr. Owen would jot
    7   down words or phrases to jog his memory on future action items. Id. He made the
    8   notes “only for purposes of appropriate follow up action,” and the notes did not
    9   “convey the substance of any discussions or the substance of any particular

   10   incident[.]” Id. ¶ 11. Once a note served its purpose, he normally discarded it. Id.

   11
        The notes did not reflect any substantive discussion of policies incidents, or
        responses thereto because, as indicated, any substantive discussions occurred at
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        follow-up meetings, which would often involve substantive briefing materials or
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        decision memos. Id. ¶ 10. Therefore, although Mr. Owen received a litigation hold
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        notice, Mr. Owen did not believe that his shorthand notes were of sufficient
   15
        substance to be subject to the litigation holds. Id. ¶ 11.
   16
                     2. Randy Howe’s Notes
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              As a former Executive Director for Operations for OFO, beginning in October
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        2017, Randy Howe attended the same daily meetings at which Mr. Owen was briefed
   19
        on various significant events and topics from POEs around the country. Ex. 2, 20:12-
   20
        22; Ex. B, ¶¶ 2, 3. Like Mr. Owen, Mr. Howe attests that the conversations at these
   21
        meetings did not encompass substantive decisions or discussions about policy
   22   implementation. Ex. B, ¶ 4. The meetings “ke[pt] the EAC abreast of important
   23   issues and operational events”; those discussions thus sometimes touched on the
   24   topic of metering and queue management. Id. ¶¶ 3, 5. However, the attendees
   25   discussed queue management and metering “in the context of other operational
   26   issues,” such as a particular POE facing capacity constraints, such that it had to
   27   implement queue management. Id. ¶ 5. Many of the significant events discussed at
   28   the 8:15 meetings were reported to Mr. Owen in email. Mr. Howe also generally
                                                            JOINT MOTION CONCERNING SPOLIATION
                                                  18                                SANCTIONS
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    1   followed up with Mr. Owen in email. Ex. 2, 26:6-13.
    2         Before attending the daily meeting, Mr. Howe sometimes wrote himself short-
    3   hand notes containing “trigger words” to help him recall events or issues to be
    4   brought to Mr. Owen’s attention. Ex. B. ¶ 7; see also Ex. 2, 20:20-22. If needed, Mr.
    5   Howe took notes during the meetings in a similar short-hand manner to help him
    6   remember certain follow-up items to pass to his subordinates at a later meeting. Ex.
    7   B, ¶ 7. Therefore, even notes regarding metering or queue management, if they
    8   existed, would have consisted of one or two words to aid Mr. Howe in recalling
    9   certain discussion points for follow-up. Id. Mr. Howe, therefore, disposed of the

   10   notes after the meeting, because he “did not believe they were substantive,

   11
        responsive, or relevant to the litigation holds” he received. Id. ¶¶ 8, 9.
                     3. Todd Hoffman’s Notes
   12
              Todd Hoffman, former Executive Director of the Admissibility and
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        Passengers Programs at OFO, also attended the daily 8:15 meetings. Ex. C, ¶ 2.
   14
        When Mr. Hoffman attends these and other meetings, he generally brings a
   15
        notebook, and may, if appropriate, take notes that allow him to recall the substance
   16
        of what was said and what he considered to be important at the time. Id. ¶ 4. He
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        typically took notes on issues related to queue management, “in case [he] later was
   18
        required to brief [the topic].” Id. ¶ 5. Mr. Hoffman preserved his notebooks and
   19
        reviewed them for production. Ex. F, 37:17-22. Defendants produced these notes on
   20
        June 9, 2020. Shinners Decl. ¶ 8. Plaintiffs did not ask Mr. Hoffman any questions
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        about the substance of any of his notes during his deposition, even though the notes
   22   were available; nor did they ask to continue his deposition for more time to review
   23   those notes. ECF No. 535-6.10 They did not ask him whether any of the notes were
   24   from the 8:15 am meetings. Id.
   25

   26

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        10
          Mr. Hoffman’s full deposition transcript was filed with Plaintiffs’ motion for
   28   summary judgment.
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    1      II.      LEGAL STANDARDS
    2            To prevail on a motion for sanctions under the court’s inherent authority, a
    3   party must show by the preponderance of the evidence:
    4             (1) the party having control over the evidence had an obligation to
                  preserve it when it was destroyed or altered; (2) the destruction or loss
    5
                  was accompanied by a “culpable state of mind”; and (3) the evidence
    6             that was destroyed or altered was “relevant” to the claims or defenses
                  of the party that sought the discovery of the spoliated evidence.
    7

    8   Brannan v. Bank of Am., 2017 WL 4031442, at *2, (D. Nev. Sept. 13, 2017) (citation
    9   and quotation marks omitted). The first prong requires a party to “preserve evidence
   10   that it knows or should know is relevant to a claim or defense of any party in the
   11   litigation.” Id. The second prong “requires a showing of at least negligence.”
   12   Nutrition Distrib. LLC v. PEP Rsch., LLC, 2018 WL 6323082, at *4 (S.D. Cal. Dec.
   13   4, 2018) (citations omitted). The third prong “requires a showing that the evidence
   14   was destroyed in bad faith, or that the evidence would have helped the innocent party
   15   prove its claim or defense.” Id. (citations omitted). The moving party must “establish
   16   a reasonable possibility, based on concrete evidence rather than a fertile imagination,
   17   that access to the lost material would have produced evidence favorable to its cause.”
   18   Brannan, 2017 WL 4031442, at *2.
   19            When determining a proper sanction for spoliation, “the court should choose
   20   the least onerous sanction corresponding to the willfulness of the destructive act and
   21   the prejudice suffered by the victim.” Soulé, 2020 WL 959245, at *3, 4 (citation and
   22   quotation marks omitted). To determine whether spoliation has prejudiced a party,
   23   the Court “looks into whether the [spoiling party’s] actions impaired [the non-
   24   spoiling party’s] ability to go to trial or threatened to interfere with the rightful
   25   decision of the case.” Leon, 464 F.3d at 959 (citation and quotation marks omitted).
   26      III.     ARGUMENT
   27            Plaintiffs have not shown they merit spoliation relief, let alone the specific
   28   rebuttable presumptions that they seek. First, they have not demonstrated that the
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    1   evidence is “relevant” for purposes of spoliation relief. Plaintiffs have not shown
    2   how Mr. Owen or Mr. Howe’s meeting notes would have assisted in proving their
    3   claims; nor have they shown that Mr. Owen or Mr. Howe acted in bad faith. Instead,
    4   they speculate, without evidence, as to what those notes may have shown. Second,
    5   even if some relief were appropriate, the expansive rebuttable presumptions
    6   Plaintiffs seek—which bear no logical connection to the lost notes themselves— are
    7   not warranted. Plaintiffs have not shown the prejudice or the willfulness required for
    8   entry of a rebuttable presumption, because Defendants have produced the notes of
    9   another custodian who attended the same meetings, and because Mr. Owen and Mr.
   10   Howe did not act in bad faith.
   11      A. Plaintiffs Have Not Met Their Burden to Prevail on Their Motion for
   12         Sanctions Because They Have not Shown That the Meeting Notes Were
              Relevant.
   13

   14
                 Plaintiffs have failed to demonstrate that the meeting notes were relevant to
        their claims and, therefore, have not met their burden for spoliation relief, let alone
   15
        any rebuttable presumptions. The “relevance” prong of the test for obtaining
   16
        spoliation relief is not satisfied by showing that the lost evidence may have had some
   17
        relevance to some issues in the case. Instead, it “requires a showing that the evidence
   18
        was destroyed in bad faith, or that the evidence would have helped the innocent party
   19
        prove its claim or defense.” Nutrition Distrib. LLC, 2018 WL 6323082, at *4
   20
        (citations omitted). The moving party must “establish a reasonable possibility, based
   21
        on concrete evidence rather than a fertile imagination, that access to the lost material
   22
        would have produced evidence favorable to its cause.” Brannan, 2017 WL 4031442,
   23
        at *2.
   24
                 Plaintiffs have not demonstrated that the meeting notes would have helped
   25   them prove their claims, or that Mr. Howe or Mr. Owen disposed of their notes in
   26   bad faith. Plaintiffs ask the Court to enter a rebuttable presumption that, at the 8:15
   27   meetings, “Mr. Howe and Mr. Owen instructed CBP officers to turn back asylum
   28   seekers who were arriving at ports of entry.” Supra at 4, 11, 13. As an initial matter,
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    1   Plaintiffs do not explain what this presumption means. They do not define “turn
    2   back” for these purposes—that is, they do not explain whether this instruction
    3   encompasses more than metering or queue management, which is the subject of
    4   formalized guidance issued in April 2018. They do not say precisely what the alleged
    5   instruction was or when it allegedly occurred. These specifics are crucial; without
    6   them, it is impossible to understand what facts Plaintiffs are even asking the Court
    7   to presume. Nor do they explain how or why they believe the lost notes would have
    8   contained, or led to the discovery of, this particular evidence, where other evidence
    9   has not. Indeed, Plaintiffs have presented no “concrete evidence” that the notes

   10   would have contained evidence of such an instruction and impermissibly rely on

   11
        their “fertile imagination” in formulating their proposed rebuttable presumption.
        Brannan, 2017 WL 4031442, at *2. Plaintiffs never even sought to determine
   12
        whether the notes could have uncovered such evidence, as they never asked Mr.
   13
        Owen or Mr. Howe11 whether there was a discussion at these meetings that OFO
   14
        leadership should instruct CBP officers to “turn back asylum seekers.”
   15
              Plaintiffs also ask the Court to enter a rebuttable presumption that “the notes
   16
        taken by Mr. Owen and Mr. Howe would show that the turnback policy is based on
   17
        a pretext.” Again, Plaintiffs’ proposed presumption is exceedingly broad and very
   18
        vague. They do not explain here, or in their summary judgment motion, what exactly
   19
        the supposed “pretext” is, or whether it actually differs from the stated reasons for
   20
        implementing metering or prioritization-based queue management.12 Most crucially,
   21
        Plaintiffs do not explain precisely how they believe the notes would have
   22

   23   11
         The entirety of Mr. Howe’s transcript was filed with Plaintiffs’ motion for
   24 summary judgment. ECF No. 535-6.
      12
         Plaintiffs argue that the evidence demonstrates that “Defendants’ senior
   25 leadership knew that the turnback policy was a pretext

   26                                Supra at 11. This is conclusory. The consideration of
      the impacts of a potential policy choice before moving forward with that choice
   27 does not demonstrate “pretext.” Rather, it exemplifies the deliberative weighing of
      pros and cons of policy and operational decisions that the agency is faced with on a
   28 daily basis.
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    1   demonstrated “pretext.” Plaintiffs do not explain what specific topic(s) would have
    2   been potentially discussed and reflected in these shorthand meeting notes that would
    3   lead to evidence of “pretext.” Plaintiffs’ requested evidentiary presumption is not
    4   rooted in specific facts that could possibly have been reflected in the notes and is, at
    5   a minimum, impermissibly overbroad.
    6         Further, multiple government witnesses have testified that the notes would not
    7   have provided or led to such evidence. These witnesses affirmed that: (1) the daily
    8   8:15 meetings were for the purpose of recapping the last 24 hours of operations at
    9   ports across the country and discussing other topics of interest, Ex. A, ¶ 3; Ex. B, ¶

   10   2-3; Ex. 2, 20:17-22; and that (2) the meetings were not held for the purpose of

   11
        making substantive decisions or having substantive discussions about the
        implementation of particular policies. Ex. A, ¶ 7; Ex. B, ¶ 4. Such meetings were
   12
        conducted and attended by OFO headquarters officials, not CBP Officers in the field.
   13
        Ex. A, ¶ 2; Ex. B, ¶ 2. Defendants acknowledge that the implementation of queue
   14
        management was sometimes discussed at these meetings, from an operational
   15
        perspective. For example, the subject might arise “in the context of other operational
   16
        issues,” such as a particular POE facing capacity constraints, such that it had to
   17
        implement queue management. Ex. B, ¶¶ 3, 5. Yet, Mr. Owen also attested that,
   18
        while it was important for him to be aware of such facts, he did “not direct any
   19
        particular course of action in learning of such an event.” Ex. A, ¶ 8. Given that fact,
   20
        and given that the participants in these meetings did not have substantive discussions
   21
        about the implementation of policies, it does require a huge “leap of logic” (supra at
   22   11) to go from these facts to a presumption that the shorthand jottings of potential
   23   discussion topics and follow-ups would have demonstrated “pretext.”
   24         Finally, Mr. Hoffman’s notes of the same meetings did not produce any
   25   evidence of the type Plaintiffs seek.13
   26

   27   13
        Plaintiffs did not even ask Mr. Hoffman any questions at his deposition about the
      few responsive notes that he took at the meetings and were produced from his
   28 notebooks. Ex. E.
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                                                  23                               SANCTIONS
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    1         Without evidence to the contrary, the Court must find that the meeting notes
    2   were not relevant—or at least not for the reason Plaintiffs claim. See Galicia v. Nat’l
    3   R.R. Passenger Corp., 2018 WL 6314191, at *4 (C.D. Cal. July 20, 2018) (finding
    4   a video that supposedly could support plaintiff’s case irrelevant because defendants
    5   had submitted evidence, including a declaration, to demonstrate that the information
    6   sought could not be found on the video); see also Nida v. Allcom, 2020 WL 2405251,
    7   at *3, 8 (C.D. Cal. Mar. 11, 2020) (denying spoliation motion because plaintiffs’
    8   claims that destroyed documents were relevant were “based entirely on
    9   speculation”). As they cannot show that the notes at issue would have helped them

   10   prove their claims, Plaintiffs have not established that the documents were

   11
        “relevant.”
              Plaintiffs also have not shown that Mr. Owen or Mr. Howe acted in bad faith.
   12
        Leon, 464 F.3d at 959 (emphasis removed) (internal quotations omitted). In Leon,
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        an employer terminated an employee for a “failure to satisfactorily perform his job
   14
        duties.” Id. The employee intentionally deleted all of the data on his laptop, which
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        included “evidence of pornographic files.” Id. The Ninth Circuit affirmed the district
   16
        court’s finding of a willful spoliation of evidence after acknowledging that the party
   17
        “knew he was under a duty to preserve all data on the laptop, but intentionally
   18
        deleted many files and then wrote a program to write over the deleted documents.”
   19
        Id. In contrast to the employee in Leon, neither Mr. Owen nor Mr. Howe believed
   20
        that the meeting notes were subject to the litigation holds they received because those
   21
        notes were shorthand, non-substantive notes that did not memorialize the meeting’s
   22   discussions or contents in any meaningful way. Ex. B, ¶ 6; Ex. A, ¶¶ 10-11.
   23   Moreover, many significant events discussed at the meetings or follow-up actions
   24   taken following the meetings would have been captured in subsequent emails. Ex.
   25   B, ¶ 7; Ex. A, ¶ 10. Plaintiffs’ argument assumes, without basis, that Mr. Owen and
   26   Mr. Howe’s short-hand notes independently concerned the
   27                                 to render them responsive to the litigation hold notices
   28   that the Officials received. Ex. 1 at 9 (CBPALTOTRO000395). Although CBP
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    1   officials may have at times discussed the
    2             at the daily operational meetings, nothing indicates that Mr. Howe or Mr.
    3   Owen thought that the notes related to those meetings captured any substantive
    4   information                             that was relevant to this case. Ex. 5, 30:3-4;
    5   Ex. A, ¶¶ 3, 7, 10-11; Ex. B, ¶¶ 4-6, 9.14 Plaintiffs have not met their burden for
    6   spoliation sanctions.
    7        B. Plaintiffs Have Not Shown Prejudice Sufficient to Warrant a Rebuttable
                Presumption.
    8
               Even if the Court were to find that the loss of the meeting notes warranted
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        relief, Plaintiffs have not demonstrated the prejudice or the willfulness required for
   10
        a rebuttable presumption. See Soulé, 2020 WL 959245, at *4; see also Apple Inc. v.
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        Samsung Elect. Co., 888 F. Supp. 2d 976, 993 (N.D. Cal. 2012) (recognizing that
   12
        courts have denied adverse inference instructions even where the test for spoliation
   13
        was satisfied because the “the degree of fault and level of prejudice were insufficient
   14   to justify imposition of the sanction”). Plaintiffs hinge their prejudice argument on
   15   the notion that the loss of the meeting notes deprived them of an opportunity to
   16   question Mr. Howe and Mr. Owen about them. Plaintiffs do not provide any
   17   explanation as to why they believe that the resulting testimony would have been
   18   favorable to their claims, let alone that it would have supported the inference they
   19   seek. Even if Plaintiffs were prejudiced, the effect is de minimis, because Defendants
   20   have produced comparable evidence in the form of Mr. Hoffman’s notes. Shinners
   21   Decl. ¶ 7. “To the extent that metering or queue management was discussed during
   22   the 8:15 am meetings, [Mr. Hoffman’s] notes would likely reflect or contain a
   23   reference to the discussion.” Ex. C, ¶ 5. Additionally, anything substantive or
   24   significant in the meeting notes would likely have been captured in email. Ex. B, ¶

   25   7. Plaintiffs now claim that they would have been able to use the notes to refresh the

   26

   27   14
       Plaintiffs appear to argue that the Court should impute bad faith based on the
      mere fact of non-preservation. But that is not in line with the case law and does not
   28 make sense here because the notes were non-substantive.
                                                          JOINT MOTION CONCERNING SPOLIATION
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    1   witness’s recollection about what was discussed during the meetings. But they never
    2   questioned the relevant witnesses about the specific instruction or topics that they
    3   now claim were issued or noted at particular meetings and that could have given rise
    4   to a need to refresh the witnesses’ recollection. Nor did Plaintiffs use any other
    5   handwritten notes that Defendants produced in such a manner. Defendants also have
    6   produced hundreds of thousands of other contemporaneous documents, including
    7   records of other meetings and internal email communications about the
    8   implementation of metering and queue management. Plaintiffs do not adequately
    9   explain why they could not have relied on those documents to refresh the witnesses’

   10   recollections regarding the topics discussed at the 8:15 meetings.

   11
              Plaintiffs have also not established the degree of fault necessary to warrant a
        rebuttable presumption. Plaintiffs do not substantiate their assertions that
   12
        Defendants’ conduct was willful or grossly negligent except to opine, without fact
   13
        or further argument, that it was “either willful or grossly negligent.” Supra at 2, 14.
   14
        The Court should not consider such a conclusory argument. Moreover, at most, the
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        loss of the notes was negligent because the content of the notes was non-substantive,
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        consisting of only one or two words that were unlikely to be responsive to requests
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        for document production in this case or otherwise relevant to the case. See Victorino,
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        2017 WL 4541653, at *6 (concluding that loss of evidence was negligent in part
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        because individual had not been specifically directed to preserve the specific part in
   20
        question); West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 780 (2d Cir. 1999)
   21
        (finding no bad faith because individual had not been directed to preserve the
   22   specific pieces of evidence).
   23         Plaintiffs argue that Defendants were grossly negligent because they did not
   24   issue a formal litigation hold to Mr. Howe in a timely manner. See supra at 7. They
   25   unflinchingly contend that “failure to timely issue a litigation hold notice is, at the
   26   very least, gross negligence.” Supra at 7-8 (emphasis added) (citing Surowiec v. Cap.
   27   Title Agency, Inc., 790 F. Supp. 2d 997, 1007 (D. Ariz. 2011)). They fail to mention,
   28   however, that the case they cite for this proposition, Surowiec, does not support a
                                                          JOINT MOTION CONCERNING SPOLIATION
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    1   per se finding of gross negligence in every case involving a failure to issue a
    2   litigation hold:
    3         The Court disagrees with Pension Committee’s holding that a failure
    4
              to issue a litigation hold constitutes gross negligence per se. Per se
              rules are too inflexible for this factually complex area of the law
    5         where a wide variety of circumstances may lead to spoliation
    6
              accusations. An allegedly spoliating party’s culpability must be
              determined case-by-case.
    7

    8
        790 F. Supp. 2d at 1007 (emphasis added). In this case, CBP has made
        comprehensive preservation efforts, to include early and frequent distribution of
    9
        litigation hold notices. Ex. 3. And Mr. Owen did receive a litigation hold notice in a
   10
        timely fashion. These facts preclude a finding of gross negligence here.
   11
              Even if sanctions were appropriate, options short of a rebuttable presumption
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        exist to remedy any minimal prejudice to Plaintiffs. For example, the Court could
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        preclude Defendants from relying on testimony about the 8:15 meetings in support
   14
        of their defenses to Plaintiffs’ allegations. See Soulé, 2020 WL 959246, at *4 (when
   15
        determining a proper spoliation sanction, “the court should choose the least onerous
   16
        sanction corresponding to the willfulness of the destructive act and the prejudice
   17
        suffered by the victim”). Plaintiffs also could have sought a deposition of Mr. Howe
   18
        under Rule 30(b)(1) to question him about Mr. Hoffman’s notes to see if the notes
   19   refresh Mr. Howe’s recollection. See U.S. v. Faafiti, 238 F. App’x 223, 224 (9th Cir.
   20   2007) (“A witness may refresh his recollection with notes drafted by another person,
   21   provided that the witness is testifying from his own memory.”). The non-specific,
   22   sweeping presumptions that Plaintiffs seek—which also lack evidentiary basis—
   23   would result in a windfall for Plaintiffs that far outweighs the import of these
   24   shorthand notes and the level of willfulness involved in their loss.
   25
           IV.    CONCLUSION
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              The Court should deny Plaintiffs’ request for sanctions. If the Court
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        determines that corrective measures are proper, it should decline to impose
   28
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    1   Plaintiffs’ sweeping presumptions that bear no connection to the reality of the 8:15
    2   operations meetings. The Court should order relief no more than necessary to
    3   balance the evidentiary scale to remedy any prejudice to Plaintiffs.
    4   Dated: September 11, 2020
    5                                                MAYER BROWN LLP
    6                                                  Matthew H. Marmolejo
                                                       Ori Lev
    7                                                  Stephen M. Medlock
    8
                                                     SOUTHERN POVERTY LAW
    9                                                CENTER
                                                       Melissa Crow
   10                                                  Sarah Rich
   11                                                  Rebecca Cassler

   12                                                CENTER FOR CONSTITUTIONAL
   13                                                RIGHTS
                                                        Baher Azmy
   14                                                   Ghita Schwarz
                                                        Angelo Guisado
   15

   16                                                AMERICAN IMMIGRATION
                                                     COUNCIL
   17                                                  Karolina Walters
   18

   19
                                                   By: /s/ Stephen M. Medlock
                                                        Stephen M. Medlock
   20
                                                   Attorneys for Plaintiffs
   21

   22
                                               JEFFREY BOSSERT CLARK
   23                                          Acting Assistant Attorney General
                                               Civil Division
   24

   25                                          WILLIAM C. PEACHEY
                                               Director
   26

   27                                          SAMUEL P. GO
                                               Assistant Director
   28
                                                         JOINT MOTION CONCERNING SPOLIATION
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    1

    2                                    KATHERINE J. SHINNERS
                                         Senior Litigation Counsel
    3

    4                                    ALEXANDER J. HALASKA
                                         ARI NAZAROV
    5                                    HAYDEN WINDROW
    6                                    Trial Attorneys

    7                                    s/ Dhruman Y. Sampat
    8                                    DHRUMAN Y. SAMPAT
                                         Trial Attorney
    9                                    U.S. Department of Justice
   10                                    Civil Division
                                         Office of Immigration Litigation
   11                                    District Court Section
   12                                    P.O. Box 868, Ben Franklin Station
                                         Washington, D.C. 20044
   13                                    Tel: (202) 532-4281| Fax: (202) 305-7000
   14                                    dhruman.y.sampat@usdoj.gov
   15                                    Counsel for Defendants
   16

   17

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                                                   JOINT MOTION CONCERNING SPOLIATION
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    1                           CERTIFICATE OF SERVICE
    2        I certify that I caused a copy of the foregoing document to be served on all
    3   counsel via the Court’s CM/ECF system.
    4   Dated: September 11, 2020                   MAYER BROWN LLP
    5

    6                                               By /s/ Stephen M. Medlock
    7

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                                                      JOINT MOTION FOR SPOLIATION SANCTIONS
